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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

  IN RE: GRANULATED SUGAR                        Case No. 24-md-03110(JWB/DTS)
  ANTITRUST LITIGATION


  This Document Relates To:                            DIRECT PURCHASER
  Direct Purchaser Plaintiff Actions                PLAINTIFFS’ JOINT MOTION
                                                     TO APPOINT INTERIM CO-
                                                       LEAD COUNSEL AND
                                                      PLAINTIFFS’ STEERING
                                                        COMMITTEE, AND
                                                    CONSOLIDATE THE RELATED
                                                       DIRECT PURCHASER
                                                            ACTIONS


      Direct Purchaser Plaintiffs Northern Frozen Foods, Inc. d/b/a Northern Haserot,

KPH Healthcare Services Inc., Redner’s Markets, Inc., C.A. Curtze Co., and Wakefern

Food Corp., (collectively “DPPs”), by and through their undersigned counsel, respectfully,

and jointly, move this Court to enter an Order and appointing Interim Co-Lead Counsel

and Plaintiffs’ Steering Committee for the Proposed Direct Purchaser Plaintiff Class, and

consolidating the related Direct Purchaser Actions.

      This Motion is based on the pleadings, files and records herein, including DPPs’

Memorandum of Law in Support of their Joint Motion to Appoint Interim Co-Lead Counsel

and Plaintiffs’ Steering Committee, and Consolidate the related Direct Purchaser Actions,

declarations, exhibits, and supporting documents.




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Dated: July 3, 2024               Respectfully submitted,

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                                  Class

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